   Case 2:20-cv-00092-Z Document 73 Filed 02/16/23                Page 1 of 3 PageID 883



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                            )
ALEXANDER R. DEANDA,                        )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )
                                            )              Civil Action No. 2:20-cv-92-Z
XAVIER BECERRA, in his official capacity as )
Secretary of Health and Human Services;     )
JESSICA SWAFFORD MARCELLA, in her official )
capacity as Deputy Assistant Secretary for  )
Population Affairs; UNITED STATES OF        )
AMERICA,                                    )
                                            )
       Defendants.                          )
                                            )


                           DEFENDANTS’ NOTICE OF APPEAL

       Notice is hereby given that all Defendants in the above-named case appeal to the United

States Court of Appeals for the Fifth Circuit from this Court’s Final Judgment, ECF No. 67,

entered in this action on December 20, 2022, as well as all prior orders and decisions that merge

into the judgment, including the Court’s December 8, 2022 Memorandum Opinion and Order,

ECF No. 63, and the Court’s January 4, 2023 Order, ECF No. 72.




DEFENDANTS’ NOTICE OF APPEAL                                                               Page 1
   Case 2:20-cv-00092-Z Document 73 Filed 02/16/23   Page 2 of 3 PageID 884



Dated: February 16, 2023                 Respectfully submitted,


                                         BRIAN M. BOYNTON
                                         Principal Deputy Assistant Attorney General

                                         MICHELLE BENNETT
                                         Assistant Branch Director

                                         /s/ Amber Richer                      _
                                         AMBER RICHER (CA Bar No. 253918)
                                         Trial Attorney
                                         U.S. Department of Justice
                                         Civil Division, Federal Programs Branch
                                         1100 L Street NW
                                         Washington, D.C. 20530
                                         Tel: (202) 514-3489
                                         Email: amber.richer@usdoj.gov

                                         Attorneys for Defendants




DEFENDANTS’ NOTICE OF APPEAL                                                 Page 2
   Case 2:20-cv-00092-Z Document 73 Filed 02/16/23                  Page 3 of 3 PageID 885



                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 16, 2023, I electronically transmitted the foregoing to

the parties and the clerk of court for the U.S. District Court, Northern District of Texas, using the

electronic case filing system of the court.


                                                      /s/ Amber Richer                      _
                                                      AMBER RICHER (CA Bar No. 253918)
                                                      Trial Attorney
                                                      U.S. Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      1100 L Street NW
                                                      Washington, D.C. 20530
                                                      Tel: (202) 514-3489
                                                      Email: amber.richer@usdoj.gov




DEFENDANTS’ NOTICE OF APPEAL – CERTIFICATE OF SERVICE                                        Page 1
